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                                    UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF VIRGINIA



 IN RE: MARCUS ALAN NORDBERG                                       CHAPTER 13
        ANGELA RENEE NORDBERG
                                                                   CASE NO. 14-71096-PBR

                                                       O R D E R

         The above-captioned matter is deficient in the following area(s):

         The petition was filed without certain required schedules and/or statements of financial affairs.

         The petition was filed without official form B22 (Means Test Calculation).

 X       The Chapter 13 petition was filed without a Chapter 13 Plan.

         The petition was filed without a certification that he/she has received an approved credit counseling briefing
         in the 180 day period ending on the date of filing of the petition or a certification of exigent circumstances.

         It is accordingly
                                                      ORDERED

           that failure to cure said deficiency(ies) within fourteen (14) days from the date the petition was originally filed,
or to file a pleading within such time requesting a hearing upon such asserted deficiency(ies), this case may be dismissed
without further notice or hearing.
           Service of a copy of this Order shall be made to debtor(s) and counsel for debtor(s); trustee, and other parties
as may be appropriate.

                                                                    Entered: August 6, 2014


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                                                                    PAUL M. BLACK, JUDGE




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